       Case 24-55036-jwc                  Doc 10 Filed 05/20/24 Entered 05/20/24 09:12:47                                  Desc Ch 7
                                            First Meeting I/J No POC Page 1 of 2
Information to identify the case:
Debtor 1              Carmen Reshun Smith                                               Social Security number or ITIN        xxx−xx−3734
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Georgia
Court website: www.ganb.uscourts.gov                                                    Date case filed for chapter 7 5/17/24
Case number:          24−55036−jwc


Official Form 309A (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                                             10/20

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov . Copy
fees or access charges may apply. A free automated response system is available at 866−222−8029 (Georgia Northern). You
must have case number, debtor name, or SSN when calling.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.
                                        About Debtor 1:                                     About Debtor 2:
1. Debtor's full name                   Carmen Reshun Smith
2. All other names used in the aka Carmen Reshun Bankston
   last 8 years
3. Address                     5529 Swanson Rd.
                                        Ellenwood, GA 30294
4. Debtor's attorney                    Pro Se
   Name and address
5. Bankruptcy trustee                   Kathleen Steil                                      Contact phone (404) 525−4000
                                        Kathleen Steil, Trustee
   Name and address                     Ogier, Rothschild & Rosenfeld, PC
                                        P. O. Box 1547
                                        Decatur, GA 30031
                                                                                                               For more information, see page 2 >
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                    page 1
       Case 24-55036-jwc                        Doc 10 Filed 05/20/24 Entered 05/20/24 09:12:47                                            Desc Ch 7
                                                  First Meeting I/J No POC Page 2 of 2
Debtor Carmen Reshun Smith                                                                                                      Case number 24−55036−jwc


6. Bankruptcy clerk's office                    Vania S. Allen                                               Office Hours: 8:00 a.m. − 4:00 p.m.
                                                Clerk of Court
    Documents in this case may be filed                                                                      Court website: www.ganb.uscourts.gov
    at this address. You may inspect all        1340 United States Courthouse
    records filed in this case at this office   75 Ted Turner Drive SW
    or online at                                                                                             Contact phone 404−215−1000
    https://pacer.uscourts.gov.                 Atlanta, GA 30303


7. Meeting of creditors                         June 17, 2024 at 09:30 AM                          Location:
                                                                                                   Zoom video meeting. Go to
    Debtors must attend the meeting to          The meeting may be continued or adjourned to Zoom.us/join, Enter Meeting ID 871 484
    be questioned under oath. In a joint        a later date. If so, the date will be on the court 5731, and Passcode 9517153975, OR
    case, both spouses must attend.
    Bring a copy of this notice with you.       docket.                                            call 1 (470) 944−8606
    Creditors may attend, but are not
    required to do so. Cellular phones          TO THE DEBTOR: Bring an original government issued              For additional meeting information go to
    and other devices with cameras are          photo ID and confirmation of social security number. Provide https://www.justice.gov/ust/moc
    not allowed in the building.                the Trustee a copy of your most recently filed tax return seven
                                                days prior to the meeting, but DO NOT FILE WITH THE
                                                COURT.


8. Presumption of abuse                         Insufficient information has been filed to date to permit the clerk to make any determination
                                                concerning the presumption of abuse. If more complete information, when filed, shows that
    If the presumption of abuse arises,         the presumption has arisen, creditors will be notified.
    you may have the right to file a
    motion to dismiss the case under 11
    U.S.C. § 707(b). Debtors may rebut
    the presumption by showing special
    circumstances.


9. Deadlines                                    File by the deadline to object to discharge                  Filing deadline: 8/16/24
                                                or to challenge whether certain debts are
    The bankruptcy clerk's office must          dischargeable:
    receive these documents and any
    required filing fee by the following
    deadlines.                                  You must file a complaint:
                                                • if you assert that the debtor is not entitled to
                                                  receive a discharge of any debts under any of the
                                                  subdivisions of 11 U.S.C. § 727(a)(2) through (7),
                                                  or

                                                • if you want to have a debt excepted from discharge
                                                  under 11 U.S.C § 523(a)(2), (4), or (6).

                                                You must file a motion:
                                                • if you assert that the discharge should be denied
                                                  under § 727(a)(8) or (9).


                                                Deadline to object to exemptions:                         Filing deadline: 30 days after the conclusion of
                                                The law permits debtors to keep certain property as       the meeting of creditors
                                                exempt. If you believe that the law does not authorize an
                                                exemption claimed, you may file an objection.


10. Proof of claim                              No property appears to be available to pay creditors. Therefore, please do not file a proof
                                                of claim now. If it later appears that assets are available to pay creditors, the clerk will send
    Please do not file a proof of claim         you another notice telling you that you may file a proof of claim and stating the deadline.
    unless you receive a notice to do so.


11. Creditors with a foreign                    If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                     asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                                United States bankruptcy law if you have any questions about your rights in this case.

12. Exempt property                             The law allows debtors to keep certain property as exempt. Fully exempt property will not
                                                be sold and distributed to creditors. Debtors must file a list of property claimed as exempt.
                                                You may inspect that list at the bankruptcy clerk's office or online at
                                                https://pacer.uscourts.gov. If you believe that the law does not authorize an exemption that
                                                the debtors claim, you may file an objection. The bankruptcy clerk's office must receive the
                                                objection by the deadline to object to exemptions in line 9.
Official Form 309A (For Individuals or Joint Debtors) Notice of Chapter 7 Bankruptcy Case −− No Proof of Claim Deadline                                    page 2
